Case 3:18-cr-30031-NJR Document 34 Filed 05/25/18 Page 1 of 4 Page ID #68
Case 3:18-cr-30031-NJR Document 34 Filed 05/25/18 Page 2 of 4 Page ID #69
Case 3:18-cr-30031-NJR Document 34 Filed 05/25/18 Page 3 of 4 Page ID #70
                            Case 3:18-cr-30031-NJR Document 34 Filed 05/25/18 Page 4 of 4 Page ID #71




Name   ffzvtt -TZ1
Reg . No. /     Z..-C?
Federal Medical Center, Carswell
                                                                     1\IORTH TEXt'S !)( fl.Sfl!)C
                                                                           p,(\t;L(.\$ TX 7$41
                                                                          21 ~'~AY20lS .F~~p 11 t
P.O. Box 27137
Ft. Worth , TX 76127




                                                        ~ 11s62-o2s ~      a-c.,.
                                                                  Michae l Reagan
                                                                  7 50 Missouri AVE
                                                                  E Saint Louis, IL 62201
                                                                  United States
                                       ~·




                                            E:22C: i -2::i~:4S9            l i ,.i.,,lll II '111111""'' ,jj i·IJI,i.!lii •lit "It   ,.,Iii,.,,,,,,,,
